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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER GARDIER,                         )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )        Case No. 2:20-cv-05232-NIQA
                                             )
TRANS UNION LLC,                             )
EQUIFAX INFORMATION SERVICES                 )
LLC, and FIDELITY DEPOSIT AND                )
DISCOUNT BANK d/b/a FEDELITY                 )
BANK,                                        )
                                             )
       Defendants.                           )
                                             )

        STIPULATION OF EXTENSION OF TIME FOR DEFENDANT EQUIFAX
     INFORMATION SERVICES LLC TO RESPOND TO PLAINTIFF’S COMPLAINT

       Plaintiff and Defendant Equifax Information Services LLC (“Equifax”), by counsel,

consent to an order by the Court that Defendant Equifax’s time to answer, move, or otherwise

respond to the Complaint in this action be extended through and including January 28, 2021 and

that any such responsive pleading by that date shall be deemed timely filed. No previous extension

has been requested.

DATED: December 23, 2020.

 /s/ Matthew B. Weisberg (with consent)               /s/ Jessica D. Reilly______________
 Matthew B. Weisberg                                 Jessica D. Reilly
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                                                     Attorney for Defendant Equifax Information
                                                     Services LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of December, 2020, I electronically filed the foregoing

with the Clerk of the Court using CM/ECF, which will send notification to all counsel of record.



                                                /s/ Jessica D. Reilly______________
                                                Jessica D. Reilly
                                                Attorney for Defendant Equifax Information
                                                Services LLC
